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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                              WESTERN                                                  DISTRICT OF                                       TENNESSEE



                          Moon Fenton, M.D.
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                  The West Clinic, PLLC, et al                                                                         Case Number: 21-cv-2790-SHL

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY 6 DEFENDANT’S ATTORNEY 6
 SHERYL H. LIPMAN                                                   David Burkhalter, II, Zachary Burkhalter                  Michael McLaren, Amy Sterling
352&((',1*'$7(                                                 COURT REPORTERCOURTROOM DEPUTY
 5/22/2023 to 5/24/2023-Non-Jury Trial                              Candace Covey                                             M. Mullen
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                  5/22/2023             X             X         Stipulations of Facts

   X                  5/22/2023                                     Witness - Mitch Graves - CEO West Cancer Center and Research Institute

   2                  5/22/2023             X             X         Letter of Resignation by Moon Fenton, M.D.

   3                  5/22/2023             X             X         List of Oncologists and Date they Became Shareholders

   4                  5/22/2023             X             X         List of Shareholders

   5                  5/22/2023             X             X         Email dated 7/14/2020 between Mitch Graves and Moon Fenton, M.D.

   6                  5/22/2023             X             X         Email dated 7/16/2020 between Mitch Graves and Moon Fenton, M.D.

   7                  5/22/2023             X             X         Email dated 7/21/2020 between Mitch Graves and Moon Fenton, M.D.

   8                  5/22/2023             X             X         Email dated 7/25/2020 between Mitch Graves and Moon Fenton, M.D.

   9                  5/22/2023             X             X         Termination, Purchase, and Release Agreement

  10                  5/22/2023             X             X         Operating Agreement of West Capital, LLC

  11                  5/22/2023             X             X         Restated and Amended Operating Agreement of West Union Partners, LLC

  12                  5/22/2023             X             X         Restated and Amended Operating Agreement of West Desoto Partners, LLC

  13                  5/22/2023             X             X         Operating Agreement of The West Clinic, PLLC

  14                  5/22/2023             X             X         2019 TN Dept. of Revenue Franchise and Excise Tax Return - West Union Partners LLC

  15                  5/22/2023             X             X         2020 TN Dept. of Revenue Franchise and Excise Tax Return - West Union Partners LLC

  16                  5/22/2023             X             X         2019 TN Dept. of Revenue Franchise and Excise Tax Return - West Desoto Partners LLC

  17                  5/22/2023             X             X         2020 TN Dept. of Revenue Franchise and Excise Tax Return - West Desoto Partners LLC

  18                  5/22/2023             X             X         2020 U.S. Return of Partnership Income - West Capital LLC

  19                  5/22/2023             X             X         2020 Schedule K-1 - West Wolf River Partners, LP

  20                  5/22/2023             X             X         2020 Schedule K-1 - West Capital, LLC

  21                  5/22/2023             X             X         2020 U.S. Return of Partnership Income - West Wolf River Partners, LP
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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✎AO 187A (Rev. 7/87)             EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                CASE NO.
           Moon Fenton, M.D.             vs.         The West Clinic, PLLC, et al                21-cv-2790-SHL
 PLF.   DEF.     DATE
                           MARKED ADMITTED                                 DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.    OFFERED

 22            5/22/2023     X       X         Current Physicians 2019 Compensation


 23            5/22/2023     X       X         Teaching and Good Citizenship Estimated Available for Distribution

 24            5/22/2023     X       X         WCCRI Shareholder Meeting Attendance 10/2/2019

         25    5/22/2023     X       X         Quality Metrics Development Committee October 2015

         26    5/22/2023     X       X         Termination of Shareholders' Agreement

  X            5/22/2023     X       X         Video Deposition of Bradley Somer, M.D.

  X            5/22/2023                       Witness - Erich Mounce - Employed by Oncology Care Partners

 27            5/22/2023     X       X         Email from Erich Mounce to Moon Fenton 6/23/2014

 28            5/22/2023     X       X         Letter to Drs. Schwartzberg & Tauer from Moon Fenton dated 8/17/2014

 29            5/22/2023     X       X         West Clinic Shareholders Meeting Minutes dated 1/28/2015

 30            5/22/2023     X       X         Email from Erich Mounce to Moon Fenton dated 2/25/2015

 31            5/22/2023     X       X         Email from Erich Mounce to Moon Fenton dated 1/23/2016

 32            5/22/2023     X       X         2015 Spreadsheet of Distribution and Calculation of Physicians' Pay

 33            5/22/2023     X       X         2016 Spreadsheet of Distribution and Calculation of Physicians' Pay

 34            5/22/2023     X       X         Current Physicians 2017 Compensation

         35    5/22/2023     X       X         Letter dated 2/6/2012 signed by Erich Mounce with Employment Contract signed by Moon Fenton

         36    5/22/2023     X       X         Email from Erich Mounce to Moon Fenton dated 12/23/2015 & Response dated 1/23/2016

         37    5/22/2023     X       X         Moon Fenton 2015-2017 Compensation Model

         38    5/22/2023     X       X         Email from Moon Fenton to Erich Mounce dated 12/23/2016 & Response

         39    5/22/2023     X       X         Email from Erich Mounce to Lee Schwartzberg and Kurt Tauer dated 7/19/2016

         40    5/22/2023     X       X         West Clinic Shareholders Meeting Minutes dated 12/20/2017

         41    5/22/2023     X       X         Physician Leadership Meeting Agenda September 2016


  X            5/23/2023                       Witness - Kurt Tauer, M.D. - Chairman of the Board

         42    5/23/2023     X       X         West Clinic HoldCo, P.C. Shareholders' Agreement 11/21/2019

         43    5/23/2023     X       X         The West Clinic, P.C. Shareholders' Agreement 1/1/2015

  X            5/23/2023                       Witness - Moon Jung Fenton, M.D. - Medical Oncologist and Hematologist

 44            5/23/2023     X       X         Email from Moon Fenton to chomoonj@hotmail.com dated 7/3/2012


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✎AO 187A (Rev. 7/87)              EXHIBIT AND WITNESS LIST – CONTINUATION
                                                                                                 CASE NO.
             Moon Fenton, M.D.            vs.         The West Clinic, PLLC, et al               21-cv-2790-SHL
 PLF.   DEF.      DATE
                            MARKED ADMITTED                                  DESCRIPTION OF EXHIBITS AND WITNESSES
 NO.    NO.     OFFERED

         45     5/23/2023     X       X         Termination of Employment Agreement dated 2/20/2019


         46     5/23/2023     X       X         Physician Employment Agreement dated 2/22/2019

         47     5/23/2023     X       X         SEALED - Pay Statement dated 12/31/2015

         48     5/23/2023     X       X         SEALED - Pay Statement dated 12/30/2016

         49     5/23/2023     x       x         SEALED - Pay Statement dated 12/31/2018

         50     5/23/2023     X       X         SEALED - Pay Statement dated 12/31/2019

         51     5/23/2023     X       X         West Clinic Shareholders Meeting Minutes dated 2/25/2015

         52     5/23/2023     X       X         West Clinic Shareholders Meeting Minutes dated 3/25/2015

                                                             *****Plaintiff Rests******

         X      5/23/2023                       Witness - Reid Evensky, Esq.

         53     5/23/2023     X       X         Termination, Purchase and Release Agreement for Dr. Benton M. Wheeler, III, M.D.

         54     5/23/2023     X       X         Termination, Purchase and Release Agreement for Joseph T. Santoso, M.D.

         55     5/23/2023     X       X         The West Clinic, PLLC Balance Sheet and Supplementary Information as of 12/31/2020

         56     5/23/2023     X       X         West Wolf River Partners, LP Financial Statements for year ended 12/31/2020

 57             5/23/2023     X       X         West Clinic PLLC Purchase Agreement Analysis

         X      5/24/2023                       Witness - Lee Schwartzberg, M.D. (via Microsoft Teams)

         X      5/24/2023                       Witness - Bradley Somer, M.D. - Medical Oncologist at West Clinic

                                                            *****Defense Rests*****




                                                s/M. Mullen, 5/24/2023




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